






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00287-CV






Appellant, Sheryl Michels// Cross-Appellant, Clifford Zeifman


v.


Appellee, Clifford Zeifman// Cross-Appellees, Sheryl Michels, John Barrett, Karl E. Hays,
Law Offices of John Barrett, Becky Beaver, and the Law Office of Becky Beaver






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT

NO. D-1-GN-07-004188, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Clifford Zeifman brought suit against his ex-wife, Sheryl Michels, and her divorce
counsel, John Barrett, Karl E. Hays, the Law Offices of John Barrett, Becky Beaver, and the Law
Office of Becky Beaver (collectively, the "Attorney Appellees"), (1) alleging causes of action for
frivolous filing, fraud, negligence, malicious prosecution, abuse of process, fraud by nondisclosure,
and conspiracy.  The trial court granted summary judgment in favor of Michels and the Attorney
Appellees, dismissing all of Zeifman's claims, but dismissing the malicious prosecution claim
without prejudice.  Michels appeals, arguing that the claim of malicious prosecution should have
been dismissed with prejudice, while Zeifman cross-appeals to assert that the trial court erred in
granting summary judgment in favor of Michels and the Attorney Appellees.  We reverse the portion
of the trial court's order dismissing the malicious prosecution claim without prejudice and render
judgment that it be dismissed with prejudice.  We affirm the trial court's order with respect to
all&nbsp;other claims.


BACKGROUND

		Michels and Zeifman divorced in 1998, signing an agreed divorce decree that
included a provision governing which elementary school their two children would attend.  In 2004,
Michels filed a petition to modify the parent-child relationship, asking the court to modify the decree
and award her the exclusive right to make educational decisions regarding one of the children,
referred to herein as A.A.  The trial court granted Michels's request and modified the decree. 
Michels then withdrew A.A. from Bryker Woods Elementary, a school in the Austin Independent
School District (AISD), and enrolled her in private school at St. Andrew's Episcopal School. 
Zeifman appealed the trial court's order, and this Court reversed, holding that the trial court had
abused its discretion in modifying the agreed divorce decree to give Michels sole power to
make&nbsp;educational decisions on behalf of A.A.  See Zeifman v. Michels, 212 S.W.3d 582, 596
(Tex.&nbsp;App.--Austin 2006, pet. denied).

		After this Court's opinion was released but before the mandate issued, Michels sued
AISD seeking injunctive relief to prevent the district from permitting Zeifman to enroll A.A. at
Bryker Woods or any other AISD school as the 2006 school year began.  Michels asserted that
Zeifman planned to enroll A.A. in Bryker Woods in violation of the trial court's order modifying the
divorce decree and a Travis County District Court standing order governing family law cases. 
Michels did not name Zeifman as a party to her suit seeking injunctive relief.  

		Upon discovering that Michels had obtained an ex parte temporary restraining order
against AISD that would prevent him from enrolling A.A. in public school, Zeifman filed a petition
in intervention, motion to dismiss, and motion for sanctions.  The next business day, Michels filed
a Rule 11 agreement with AISD, in which AISD agreed not to permit A.A. to be enrolled at or attend
Bryker Woods without a final, non-appealable court order permitting her enrollment, in return for
Michels's agreement to dismiss her suit for injunctive relief.  Michels then filed a notice of non-suit
and a motion to strike Zeifman's intervention.  The trial court granted the motion to strike, dismissed
Zeifman's motion to dismiss as moot, and denied Zeifman's motion for sanctions.

		Zeifman appealed the trial court's decision to strike his intervention and deny his
motion for sanctions.  This Court reversed, holding that the trial court abused its discretion in
striking Zeifman's intervention, and remanded for further proceedings on the issue of sanctions.  See 
Zeifman v. Michels, 229 S.W.3d 460, 468 (Tex. App.--Austin 2007, pet. denied).  To date, Zeifman
has not pursued sanctions on remand, and no final judgment has been entered in that case. 

		In December 2007, Zeifman filed the present suit, bringing claims against Michels
and the Attorney Appellees for frivolous filing, fraud, negligence, malicious prosecution, and abuse
of process, based on Michels's suit for injunctive relief against AISD.  Zeifman later amended his
petition to add claims for fraud by nondisclosure and conspiracy.  Michels and the Attorney
Appellees moved for summary judgment.  The trial court granted the motions for summary judgment
and dismissed all claims, but dismissed the malicious prosecution claim without prejudice.  Michels
now appeals, contending that the malicious prosecution claim should have been dismissed with
prejudice.  Zeifman cross-appeals, arguing that the trial court erred in granting summary judgment
in favor of Michels and the Attorney Appellees.


STANDARD OF REVIEW

		Summary judgments are reviewed de novo.  Valence Operating Co. v. Dorsett,
164&nbsp;S.W.3d 656, 661 (Tex. 2005).  To prevail on a traditional motion for summary judgment, the
movant must show that there is no genuine issue of material fact and that it is entitled to judgment
as a matter of law.  Provident Life &amp; Accident Ins. Co. v. Knott, 128 S.W.3d 211, 215-16
(Tex.&nbsp;2003).  Evidence favorable to the non-movant is taken as true and every reasonable inference
must be indulged in favor of the non-movant and any doubts resolved in its favor.  Id. at 215.


DISCUSSION

The Litigation Privilege

		We must first address the litigation privilege because it serves as an absolute bar to
all of Zeifman's claims against the Attorney Appellees.  Zeifman raises the issue of litigation
privilege in his second issue on cross-appeal, arguing that the trial court erred in dismissing his
claims against the Attorney Appellees on the basis of the litigation privilege. (2) 

		The litigation privilege protects an attorney from personal liability stemming from
conduct that the "attorney engages in as part of the discharge of his duties in representing a party in
a lawsuit."  Bradt v. West, 892 S.W.2d 56, 72 (Tex. App.--Houston [1st Dist.] 1994, writ denied)
(op. on reh'g).  "Stated differently, an attorney cannot be held liable to a third party for
conduct&nbsp;that&nbsp;requires 'the office, professional training, skill, and authority of an attorney.'"  Miller
v.&nbsp;Stonehenge/FASA-Texas, JDC, L.P., 993 F. Supp. 461, 464 (N.D. Tex. 1998) (quoting Taco Bell
Corp. v. Cracken, 939 F. Supp. 528, 532 (N.D. Tex. 1996)).  The litigation privilege focuses on the
type of conduct engaged in by the attorney, rather than on whether the conduct was meritorious in
the context of the underlying lawsuit.  Bradt, 892 S.W.2d at 72 (stating that, for example, attorney
could not be sued by opposing party for filing meritless or frivolous motions, "because making
motions is conduct an attorney engages in as part of the discharge of his duties in representing a party
in a lawsuit").  If an attorney's conduct violates his professional responsibility, the remedy is "public,
not private."  Renfroe v. Jones &amp; Assocs., 947 S.W.2d 285, 287 (Tex. App.--Fort Worth 1997,
writ&nbsp;denied).  The purpose behind the litigation privilege is to protect an attorney's "right to
interpose any defense or supposed defense and make use of any right in behalf of such client or
clients as [the attorney] deem[s] proper and necessary, without making himself subject to liability
in damages."  Morris v. Bailey, 398 S.W.2d 946, 947 (Tex. Civ. App.--Austin 1966, writ ref'd
n.r.e.).  Any other policy "would dilute the vigor with which Texas attorneys represent their clients,
which would not be in the best interests of justice."  Bradt, 892 S.W.2d at 72.

		Zeifman argues that his claims against the Attorney Appellees are not barred by the
litigation privilege because they arise from fraudulent conduct, which is "foreign to the duties of an
attorney."  Poole v. Houston &amp; T.C. Ry. Co., 58 Tex. 134, 137 (1882).  The litigation privilege is
inapplicable if an attorney knowingly participates in fraudulent activities outside the scope of his
legal representation of the client.  See Likover v. Sunflower Terrace II Ltd., 696 S.W.2d 468, 472
(Tex. App.--Houston [1st Dist.] 1985, no writ) (holding attorney liable for assisting client in
perpetrating fraudulent business scheme involving sale of apartment complex); Bourland v. State,
528 S.W.2d 350, 357 (Tex. Civ. App.--Austin 1975, writ ref'd n.r.e.) (holding attorney liable for
misrepresentations made to investors in client's fraudulent real estate scheme).  In the present case,
however, the complained-of actions taken by the Attorney Appellees are all actions that fall within
the context of their duty to represent Michels in litigation--filing a lawsuit for injunctive relief,
seeking and obtaining a temporary restraining order, and negotiating and filing a Rule 11 agreement. 
Such actions, which require the professional training, skill, and authority of an attorney, have been
considered insufficient to form the basis of a fraud claim against an attorney by a non-client.  See
Alpert v. Crain, Caton &amp; James, P.C., 178 S.W.3d 398, 408 (Tex. App.--Houston [1st Dist.] 2005,
pet. denied) (holding that litigation privilege bars fraud claim based on actions such as filing lawsuits
and pleadings, providing legal advice, and awareness of settlement negotiations); White v. Bayless,
32 S.W.3d 271, 276 (Tex. App.--San Antonio 2000, pet. dism'd w.o.j.) (holding that claim of
conspiracy to commit fraud was barred by litigation privilege because attorneys' actions of preparing
and filing various pleadings were "actions taken as attorneys representing their client"). 
Furthermore, an attorney owes no duty to non-client parties in the adversarial context of litigation. 
See McCamish, Martin, Brown &amp; Loeffler v. F.E. Appling Interests, 991 S.W.2d 787, 795
(Tex.&nbsp;1999) ("[A] third party's reliance on an attorney's representation is not justified when the
representation takes place in an adversarial context."); see also Chu v. Hong, 249 S.W.3d 441, 446
n.19 (Tex. 2008) (citing McCamish for proposition that "fraud actions cannot be brought against an
opposing attorney in litigation as reliance in those circumstances is unreasonable").  As a result, we
hold that the trial court did not err in dismissing Zeifman's claims against the Attorney Appellees
because all such claims are barred by the litigation privilege.  Zeifman's second issue is overruled.


Frivolous Pleadings

		Having disposed of Zeifman's claims against the Attorney Appellees, we now address
those issues on appeal relating to Zeifman's claims against Michels.  In his third issue on cross-appeal, Zeifman argues that the trial court erred in dismissing his claim for filing frivolous pleadings
under chapter 9 of the civil practice and remedies code.  See Tex. Civ. Prac. &amp; Rem. Code Ann.
§§&nbsp;9.001-.014 (West 2002).  Chapter 9 authorizes sanctions for the filing of groundless pleadings&nbsp;in
bad faith or for an improper purpose, such as harassment or to cause unnecessary delay.  Id. §&nbsp;9.011. 

		Zeifman argues that chapter 9 allows a party to bring an independent cause of action,
separate from the suit in which the pleadings were filed.  Zeifman has not cited, nor have we found,
any authority supporting this proposition.  Instead, he points to section 9.012(a), which states that
"[a]t the trial of the action or at any hearing inquiring into the facts and law of the action," the trial
court may make a finding that sanctions are appropriate.  Id. § 9.012(a).  Zeifman argues that this
language allows a party to pursue chapter 9 sanctions in a suit wholly separate from the one in which
the objectionable pleadings were filed, provided that there is a "hearing inquiring into the facts and
law of the action."

		Our sister courts have held that where the civil practice and remedies code allows
a&nbsp;"motion" for sanctions without explicitly creating an independent cause of action for
sanctions,&nbsp;no&nbsp;such cause of action exists.  See Mantri v. Bergman, 153 S.W.3d 715, 717-18
(Tex.&nbsp;App.--Dallas&nbsp;2005, pet. denied) (holding that no independent cause of action exists under
chapter 10, which governs sanctions for pleadings and motions filed without legal or evidentiary
support or for improper purpose); Martin v. Texas Dep't of Family &amp; Protective Servs., 176 S.W.3d
390, 393 (Tex. App.--Houston [1st Dist.] 2004, no pet.) (holding that chapter 105, governing
frivolous claims by state agencies, allows only "motion" for sanctions and therefore no affirmative
claim for relief is available).  While neither of these cases address chapter 9 of the civil practice and
remedies code, the underlying principles are the same.  Section 9.012 allows sanctions to be imposed
by the court "on its own motion" or "on the motion of any party to the action," Tex. Civ. Prac.
&amp;&nbsp;Rem. Code Ann. § 9.012(a), and there is no provision specifically creating an independent cause
of action for sanctions.  As a result, we hold that the trial court did not err in dismissing Zeifman's
claim for frivolous pleadings because no independent cause of action is available under chapter 9
of the civil practice and remedies code.  Zeifman's third issue is overruled. 


Fraud and Negligence

		In his fourth issue on cross-appeal, Zeifman argues that the trial court erred in
dismissing his claims for fraud and negligence on the basis that Michels owed no duty to Zeifman
to disclose that the suit against AISD had been filed.  Zeifman takes the position that Michels owed
him an informal duty to disclose this information, based on their relationship as former spouses and
joint managing conservators of A.A., as well as a formal duty under section 153.076 of the
family&nbsp;code.  See Tex. Fam. Code Ann. §&nbsp;153.076(a) (West Supp. 2008) (requiring court to "order
that each conservator of a child has a duty to inform the other conservator of the child in a timely
manner of significant information concerning the health, education, and welfare of the child").

		Generally, no duty of disclosure arises in the absence of a confidential or fiduciary
relationship.  Insurance Co. of N. Am. v. Morris, 981 S.W.2d 667, 674 (Tex. 1998).  While a
fiduciary duty exists between spouses, this duty terminates when the parties are involved in
contested&nbsp;divorce proceedings and independently represented by counsel.  Solares v. Solares,
232&nbsp;S.W.3d 873,&nbsp;881 (Tex. App.--Dallas 2007, no pet.); Toles v. Toles, 113 S.W.3d 899, 916-18
(Tex. App.--Dallas&nbsp;2003, no pet.) (affirming summary judgment dismissing negligence and fraud
claims because no duty existed between spouses in contested divorce proceedings where each spouse
was represented by counsel); Bass v. Bass, 790 S.W.2d 113, 119 (Tex. App.--Fort Worth 1990,
no&nbsp;writ).  As indicated by the procedural history of this case and the related litigation, Zeifman and
Michels are independently represented by counsel as adversaries in litigation affecting the parent-child relationship, which arose after contested divorce proceedings.  As a result, any confidential or
fiduciary relationship that existed during the parties' marriage has long since terminated.

		Furthermore, Zeifman has not provided, and we have not found, any authority
suggesting that section 153.076 of the family code creates a statutory duty that gives rise to tort
liability.  Section 153.076 merely provides that the trial court shall "order that each conservator of
a child has a duty to inform the other conservator of the child in a timely manner of significant
information concerning the health, education, and welfare of the child."  Tex. Fam. Code Ann.
§&nbsp;153.076(a).  Significantly, in a case involving the potential for tort liability under a different family
code provision, the Texas Supreme Court held that the statute requiring witnesses of child abuse to
report it to the appropriate authorities did not give rise to "a duty and standard of conduct in tort." 
Perry v. S.N., 973 S.W.2d 301, 309 (Tex. 1998).  In reaching this conclusion, the court considered
such factors as the lack of a duty in common law and the fact that the required conduct--reporting
child abuse--was not clearly defined by the statute.  See id.  Similarly, there is no common law cause
of action for failure to disclose the information described in section 153.076(a), and the required
conduct is not clearly defined, given the lack of guidance on what constitutes "significant
information" or when a conservator must disclose information in order for it be disclosed "in a
timely manner."  See Tex. Fam. Code Ann. § 153.076(a).  In the absence of any Texas precedent for
imposing tort liability based on section 153.076 of the family code, we decline to do so here,
particularly in light of Perry.  Accordingly, we hold that the trial court did not err in dismissing
Zeifman's claims for fraud and negligence.  Zeifman's fourth issue is overruled.


Malicious Prosecution

		In Zeifman's fifth issue on cross-appeal, he argues that the trial court erred in
dismissing his malicious prosecution claim.  Michels, in her sole issue on appeal, argues that the
malicious prosecution claim should have been dismissed with prejudice, rather than without
prejudice.  To prevail on a claim for malicious prosecution, a plaintiff must establish:  (1) the
institution or continuation of civil proceedings against the plaintiff; (2) by or at the insistence of the
defendant; (3) malice; (4) lack of probable cause; (5) termination of the proceedings in the plaintiff's
favor; and (6) special damages.  Texas Beef Cattle Co. v. Green, 921 S.W.2d 203, 207 (Tex. 1996). 
Michels contends that Zeifman fails to meet three of the required elements because he was not a
party to the suit for injunctive relief, the suit has not yet terminated in his favor, and he failed to
show special damages.  The trial court dismissed the malicious prosecution claim without prejudice
on the grounds that the underlying suit has not terminated while the issue of sanctions remains
pending on remand.  See Zeifman, 229 S.W.3d at 468 (reversing trial court's order striking Zeifman's
intervention and remanding for further proceedings on issue of sanctions).  

		An underlying civil claim does not terminate in favor of the plaintiff in a malicious
prosecution case "until the appeals process has been exhausted."  Green, 921 S.W.2d at 206. 
Furthermore, the proceedings are not terminated "until the final disposition of the appeal and of any
further proceedings that it may entail."  Id. at 208 (quoting Restatement (Second) of Torts § 674
cmt. j (1977)) (emphasis added).  While Zeifman argues that the underlying proceedings at issue here
were terminated in his favor when all matters of substantive relief were finally decided, see Zeifman,
229 S.W.3d at 468, the fact remains that the appeals process has not yet been exhausted because the
issue of sanctions remains pending on remand and may still be appealed when a final order on
sanctions is issued by the trial court. (3)  Until the appeals process is complete with regard to all issues,
including sanctions, the underlying suit has not yet terminated in Zeifman's favor.  As a result,
Zeifman's fifth issue is overruled.

		Zeifman has also failed to meet the first element of a claim for malicious
prosecution--"the institution or continuation of civil proceedings against the plaintiff."  Green,
921&nbsp;S.W.2d at 207.  While Zeifman argues that a non-party to the underlying civil suit may bring a
claim for malicious prosecution if he suffered special damages as a direct result of the underlying
suit, this argument is inconsistent with the Texas Supreme Court's express statement in Green that
a malicious prosecution plaintiff must establish "the institution or continuation of civil proceedings
against the plaintiff."  Id.  An argument similar to the one made by Zeifman was rejected in RRR
Farms, Ltd. v. American Horse Protection Association, Inc., 957 S.W.2d 121, 132-33
(Tex.&nbsp;App.--Houston [14th Dist.] 1997, pet. denied), in which our sister court, citing Green,
"decline[d] to expand the malicious prosecution tort to include someone who was not a party to the
underlying proceeding."  RRR Farms, 957 S.W.2d at 133.  The court further stated, "This holding
is consistent with the purpose of the malicious prosecution tort.  Fundamentally, this tort is available
only to parties who were wrongly sued and seek to be made whole."  Id. (emphasis added). 
Following this reasoning, we too decline to expand the malicious prosecution tort to an individual
who was not a named party in the underlying proceeding.  Therefore, Zeifman cannot meet the first
element of a claim for malicious prosecution as a matter of law, and his claim must be dismissed
with prejudice. (4)  We sustain Michels's issue on appeal.

	

Abuse of Process

		Zeifman, in his sixth issue on cross-appeal, argues that the trial court erred in
dismissing his claim for abuse of process.  "Abuse of process is the malicious use or misapplication
of process in order to accomplish an ulterior purpose."  Hunt v. Baldwin, 68 S.W.3d 117, 129
(Tex.&nbsp;App.--Houston [14th Dist.] 2001, no pet.).  However, if the process is used for the purpose
for which it is intended, no abuse of process has occurred, "even though accomplished by an ulterior
motive."  Id. at 130.  A claim based on the filing and maintaining of a lawsuit cannot constitute
abuse of process, because abuse of process refers to "the improper use of the process after it has been
issued."  Klein &amp; Assocs. Political Relations v. Port Arthur Indep. Sch. Dist., 92 S.W.3d 889, 898
(Tex. App.--Beaumont 2002, pet. denied).  "To constitute abuse of process, the process must have
been used to accomplish an end which is beyond the purview of the process and compels a party to
do a collateral thing which he could not be compelled to do."  Bossin v. Towber, 894 S.W.2d 25, 33
(Tex. App.--Houston [14th Dist.] 1994, no pet.).  This element is not present in the case at bar, in
which process was used to inform AISD that Michels had filed a lawsuit seeking to prevent AISD
from enrolling A.A. in Bryker Woods and had obtained a temporary restraining order to that effect. 
AISD was not compelled to take any collateral action, but rather to participate in the litigation
proceedings, which it did by negotiating the Rule 11 agreement.  Because the process in this case
was used for the purpose for which it was intended, Zeifman's abuse-of-process claim fails as a
matter of law.  We overrule Zeifman's sixth issue.		


Conspiracy and Fraud by Nondisclosure

		In Zeifman's first issue on cross-appeal, he argues that the trial court erred in granting
summary judgment on his two later-pleaded claims of conspiracy and fraud by nondisclosure,
because these claims were not addressed in the motions for summary judgment.

		As a general rule, summary judgment may not be granted on causes of action that
were not addressed in the summary judgment motions.  Chessher v. Southwestern Bell Tel. Co.,
658&nbsp;S.W.2d 563, 564 (Tex. 1983); see also Rotating Servs. Indus., Inc. v. Harris, 245 S.W.3d 476,
487 (Tex. App.--Houston [1st Dist.] 2007, pet. denied) ("A defendant who does not amend or
supplement its motion for summary judgment to address claims asserted in a plaintiff's amended
pleading is generally not entitled to a summary judgment on the plaintiff's entire case.").  However,
an exception to this rule applies to cases where the motion for summary judgment is sufficiently
broad to encompass the later-pleaded claims or where a defendant conclusively disproves an element
common among pleaded causes of action.  Owens v. McLeroy, Litzler, Rutherford, Bauer &amp; Friday,
P.C., 235 S.W.3d 388, 391 (Tex. App.--Texarkana 2007, no pet.).  "In a nod to reality, summary
judgment may be properly granted on later-pleaded causes of action if the grounds actually asserted
show that the plaintiff could not recover on the later-pleaded cause of action."  Id.

		As previously discussed, the litigation privilege, which was raised by the Attorney
Appellees in their motions for summary judgment, bars all claims against the Attorney Appellees
arising from the actions taken in the context of representing Michels in litigation.  Because
Zeifman's claims of conspiracy and fraud by nondisclosure are based on the same conduct as his five
original claims, the litigation privilege necessarily bars these claims as well. (5)  The Attorney
Appellees' motions for summary judgment clearly raise the litigation privilege, and accordingly
establish that Zeifman cannot recover on his later-pleaded causes of action.

		With regard to Zeifman's claims against Michels, Michels's motion for
summary&nbsp;judgment conclusively establishes that Zeifman cannot recover on his claims for
conspiracy or fraud by nondisclosure.  Zeifman's fraud by nondisclosure claim, like his general fraud
claim, is based on his argument that Michels owed him both an informal duty and a statutory duty
under the family code to inform him of the suit against AISD for injunctive relief.  As previously
discussed, Michels's motion for summary judgment negated an element of Zeifman's fraud
claim--the existence of a duty to disclose.  As a result, Michels's motion similarly negates this
essential element of Zeifman's fraud by nondisclosure claim.  See Patterson v. McMickle,
191&nbsp;S.W.3d 819, 826 (Tex. App.--Fort Worth 2006, no pet.) ("The failure to disclose information
does not constitute fraud in the absence of a duty to disclose.").  

		Civil conspiracy is "a derivative tort," which depends on a defendant's participation
"in some underlying tort for which the plaintiff seeks to hold at least one of the named defendants
liable."  Tilton v. Marshall, 925 S.W.2d 672, 681 (Tex. 1996).  Where the plaintiff's underlying tort
claim fails, the conspiracy claims fails as well.  See Chu, 249 S.W.3d at 447 (holding that where
plaintiff's tort claim fails as a matter of law, "she has no conspiracy claim against [the defendant]
for conspiring in such a tort"); White, 32 S.W.3d at 276 ("[Plaintiff's] inability to articulate an
actionable underlying tort claim is fatal to his conspiracy allegations.").  As discussed above, the trial
court properly granted Michels's motion for summary judgment on Zeifman's underlying tort claims. 
In light of our holding that Zeifman cannot recover on his underlying tort claims, it necessarily
follows that he cannot recover on his conspiracy claim.  Further, we hold that Michels's motion for
summary judgment, which established that Zeifman's underlying tort claims fail as a matter of law,
was sufficient to encompass his later-pleaded conspiracy claim as well.  Zeifman's first
issue&nbsp;is&nbsp;overruled.


Opportunity to Replead

		In his seventh issue, Zeifman argues in the alternative that the trial court erred in
dismissing his claims without giving him an opportunity to replead.  A trial court need not give a
plaintiff the opportunity to amend if "the petition affirmatively demonstrates that no cause of action
exists or that plaintiff's recovery is barred."  Peek v. Equipment Serv. Co., 779 S.W.2d 802, 805
(Tex. 1989).  As previously discussed, any cause of action against the Attorney Appellees in this case
is barred as a matter of law by the litigation privilege.  Furthermore, we have concluded that no cause
of action exists for frivolous filing under chapter 9 of the civil practice and remedies code, that
Zeifman may not recover on claims for abuse of process or malicious prosecution as a matter of law,
and that Michels did not owe Zeifman a duty to disclose, and therefore is not subject to tort liability
for any nondisclosure.  Summary judgment in this case was granted, not because Zeifman's petition
failed to state a cause of action, but because it affirmatively demonstrated that all of his claims fail
as a matter of law.  See Bradt, 892 S.W.2d at 66 ("Summary judgment is proper where the plaintiff's
allegations cannot constitute a cause of action as a matter of law.").  As a result, we hold that
Zeifman is not entitled to an opportunity to replead.  Zeifman's seventh issue is overruled.


CONCLUSION

		We hold that the trial court did not err in granting summary judgment dismissing
Zeifman's claims, but the claim of malicious prosecution should have been dismissed with prejudice. 
Accordingly, we reverse the dismissal of the malicious prosecution claim without prejudice
and&nbsp;render judgment that it be dismissed with prejudice.  The remainder of the trial court's
order&nbsp;is&nbsp;affirmed.

						___________________________________________

						Diane M. Henson, Justice

Before Justices Patterson, Waldrop and Henson

Affirmed in Part; Reversed and Rendered in Part

Filed:   February 12, 2009
1.   The Court notes that as a technical matter, the Attorney Appellees are actually cross-appellees.
2.   Because Michels's sole issue on appeal is that Zeifman's malicious prosecution claim
should have been dismissed with prejudice, we will address her issue in our discussion of Zeifman's
fifth issue on cross-appeal, in which he argues that the trial court erred in dismissing his malicious
prosecution claim.  Furthermore, we will address Zeifman's first issue on cross-appeal--that the
trial&nbsp;court erred in granting summary judgment on later-pleaded claims not raised in the motions for
summary judgment--after our discussion of the five claims raised in Zeifman's original petition.
3.   The parties concede that only the issue of sanctions remains pending.  See Zeifman
v.&nbsp;Michels, 229 S.W.3d 460, 468 (Tex. App.--Austin 2007, pet. denied) (reversing trial court's order
striking Zeifman's intervention and remanding for further proceedings on issue of sanctions); see
also Freightliner Corp. v. Motor Vehicle Bd., 255 S.W.3d 356, 362 (Tex. App.--Austin 2008,
pet.&nbsp;filed) (observing that when an appellate court remands a case on a particular issue, "the trial
court is restricted to a determination of that particular issue").
4.   In light of our holding, we need not determine whether Zeifman has alleged special
damages sufficient to support a claim for malicious prosecution.
5.   The statement of facts in Zeifman's amended petition is identical to the one found in his
original petition.


